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                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                     TEL. 504-310-7700
CLERK                                                          600 S. MAESTRI PLACE,
                                                                       Suite 115
                                                              NEW ORLEANS, LA 70130

                               July 26, 2022
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 22-60363      Consumers’ Research v. FCC
                        Agency No. 96-45

Enclosed is an order entered in this case.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk




                                   By: _________________________
                                   Allison G. Lopez, Deputy Clerk
                                   504-310-7702



Mr.   James Michael Carr
Mr.   Adam Crews
Mr.   R. Trent McCotter
Mr.   Andrew Jay Schwartzman
